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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

TANISHA JONES,                                    )
                                                  )
                 Plaintiff,                       )
                                                  )
          v.                                      )        No. 4:20-CV-00772 JAR
                                                  )
MACY’S RETAIL HOLDINGS, INC.,                     )
                                                  )
                  Defendant.                      )

                                   MEMORANDUM AND ORDER

          This matter is before the Court on Defendant Macy’s Retail Holdings, Inc.’s unopposed

Motion to Compel. (Doc. No. 32). In Interrogatory Number 14, Defendant seeks medical

authorizations for prior treatment to the parts of the body Plaintiff claims to have injured in this

case and a specific list of the treatment Plaintiff claims to have incurred as a result of the incident

in this case. 1 Upon consideration, the motion will be GRANTED in part.

          Accordingly,


1
    Specifically, Defendant’s Interrogatory Number 14 asks the following:

          State the names and addresses of all doctors, hospitals, chiropractors, healers, or health
          care providers who have treated, examined or attended you since the occurrence in
          question and because of it, and for each listed, please state:

          a. The amount of the bill from each such health care provider for services rendered
          because of the occurrence in question;

          b. The number of visits and the specific dates of each visit you have made to each of
          these health care providers because of the occurrence;

          c. The conditions for which you were examined or treated;

          d. If you claim that you received a medical examination, care or treatment because of the
          occurrence mentioned in the petition, please sign and return the attached medical
          authorization, after inserting the names and addresses of the doctors and hospitals.


                                                      1
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        IT IS HEREBY ORDERED that within ten (10) days of the date of this Order, Plaintiff

shall respond to Defendant’s Interrogatory Number 14 and provide medical authorizations for

treatment relating to her left knee, ankle, foot and toes for five (5) years prior to the fall.



        Dated this 7th day of June, 2021.


                                                    JOHN A. ROSS
                                                    UNITED STATES DISTRICT JUDGE




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